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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE MUSHROOM DIRECT                        :              Master File NO. 06-0620
PURCHASER ANTITRUST                          :
LITIGATION                                   :
                                             :
THIS DOCUMENT RELATES TO:                    :
ALL ACTIONS                                  :

                                            ORDER

       AND NOW, this 5th day of August, 2015, upon consideration of EMMC defendants’

motion (Dkt. No. 516) and M.D. Basciani’s motion (Dkt. No. 520) to exclude Dr. Keith Leffler’s

expert opinions offered on behalf of plaintiffs Giant Eagle, Inc. and Publix, Inc., opt-out

plaintiffs’ response (Dkt. No. 532), EMMC defendants’ reply (Dkt. No. 551), M.D. Basciani’s

reply (Dkt. No. 555), opt-out plaintiffs’ surreply (Dkt. No. 572) and EMMC defendants’ surrpely

(Dkt. No. 577), the Daubert hearing and consistent with the accompanying memorandum of law,

it is ORDERED that the defendants’ motions are DENIED.

       It is FURTHER ORDERED that, because this Order and the accompanying

memorandum of law may contain confidential information, they have been filed under seal

pending review by the parties to permit the parties to meet and confer and propose a single

jointly redacted version of the Order and the accompanying memorandum of law. On or before

August 31, 2015, the parties shall provide the Court with any proposed redacted Order and

accompanying memorandum of law or shall inform the Court that no redactions are required.

Thereafter, the Court will issue a publicly-available version of this Order and the accompanying

memorandum of law.


                                                        s/Thomas N. O’Neill, Jr.
                                                    THOMAS N. O’NEILL, JR., J.
